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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

------------------------------------------------------------   X
                                                               :
MALIBU MEDIA, LLC,                                             :
                                                               : Case No. 5:19-CV-975
                                   Plaintiff,                  : (NAM/ML)
v.                                                             :
                                                               :
RICARD ROSELLO,                                                :
                                                               :
                                   Defendant.                  :
------------------------------------------------------------   X

              PLAINTIFF’S MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE
                DEFENSES AND INCORPORATED MEMORANDUM OF LAW

         Plaintiff, Malibu Media, LLC (“Plaintiff”), by and through undersigned counsel, and

pursuant to Fed. R. Civ. P. 12 and 56 hereby moves for the entry of an order striking the

Affirmative Defenses filed by Defendant, John Doe subscriber assigned IP address 173.56.118.179

(“Defendant”), and files this memorandum in support.

         I.       INTRODUCTION

         Defendant’s Answer was filed on June 6, 2020 asserting five (5) Affirmative Defenses

against Plaintiff’s Original Complaint. See, Answer, CM/ECF 34, and Original Complaint,

CM/ECF 1. Defendant’s Affirmative Defenses are insufficient and/or improper for the reasons

stated herein.     The defenses should be stricken pursuant to Fed. R. Civ. P. 12(f) because the

defenses are barebone and do not provide adequate notice to Plaintiff, and no additional law or

fact exists in support of these defenses. Indeed, the lack of facts and legal theories does not provide

Plaintiff with even the most basic notice. Defendant’s defenses also fail as a matter of law. For

the foregoing reasons, as set forth below, Plaintiff respectfully requests the Court strike

Defendant’s affirmative defenses.
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       II.     LEGAL STANDARD

      The Federal Rules provide that a “court may strike from a pleading an insufficient defense

or any redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f). “Federal

courts enjoy broad discretion in granting motions to strike, but courts ‘should not tamper with the

pleadings unless there is a strong reason for so doing.’" Erickson Beamon Ltd. v. CMG Worldwide,

Inc., 2014 U.S. Dist. LEXIS 112437, *6 (S.D.N.Y. Aug. 12, 2014) (citing Lipsky v.

Commonwealth United Corp., 551 F.2d 887, 893 (2d Cir. 1976)).

      To prevail on a motion to strike an affirmative defense, the plaintiff must show that “‘(1)

there is no question of fact which might allow the defense to succeed; (2) there is no question of

law which might allow the defense to succeed; and (3) the plaintiff would be prejudiced by

inclusion of the defense.’” Bernstein v. Mount Ararat Cemetery Inc., No. 11–CV–0068, 2012 WL

3887228, at *9 (E.D.N.Y. Sept. 7, 2012) (quoting Houston v. Manheim–New York, No. 09–CV–

4544, 2010 WL 744119, at *3 (S.D.N.Y. Mar. 3, 2010)).

       “In order for a court to strike a defense as insufficient: ‘(1) there must be no question of

fact that might allow the defense to succeed; (2) there must be no substantial question of law that

might allow the defense to succeed; and (3) the plaintiff must be prejudiced by the inclusion of the

defense.’” Id. (quoting Coach, Inc. v. Kmart Corp., 756 F. Supp. 2d 421, 425 (S.D.N.Y.

2010))(emphasis added). “Inclusion of these invalid defenses risks prejudice to a plaintiff due to

increased time and expense of litigation.” Id. (citing Estee Lauder, Inc. v. Fragrance Counter, Inc.,

189 F.R.D. 269, 272 (S.D.N.Y. 1999)); Fedex Ground Package Sys., 2017 U.S. Dist. LEXIS

21188, at *6 (“In evaluating the third prong, the Court may consider whether inclusion of the

legally insufficient defense would needlessly increase the ‘time and expense of trial’ or ‘duration

and expense of litigation.’”).



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       “As to the standard of particularity, ‘neither the Second Circuit nor any other Circuit Court

of Appeals has ruled on the applicability of the [12(b)(6)] Twombly/Igbal standard to affirmative

defenses’ and district courts within this Circuit remain divided as to this question.” Hudson Bay

Master Fund Ltd. v. Patriot Nat'l, Inc., 2016 U.S. Dist. LEXIS 165511, *20 (S.D.N.Y. Nov. 21,

2016) (citing Tardif v. City of N.Y., 302 F.R.D. 31, 33 (S.D.N.Y. 2014)). “[T]his Court finds that

Twombly applies here at least to emphasize the importance — recognized at least 16 years ago by

the Shechter court — of providing the plaintiff with fair notice, buttressed by sufficient facts, of

the affirmative defenses that the defendant intends to assert; thus allowing the plaintiff an

opportunity to knowledgeably respond.” Godson v. Eltman, Eltman & Cooper, P.C., 285 F.R.D.

255, 259 (W.D.N.Y. 2012). “[W]hether or not Twombly necessarily applies to affirmative

defenses, it at least reaffirms the proposition that talismanic pleading is not to be abided. This is

what the alternative rule encourages: the inefficient practice of defense counsel formulaically

reciting every conceivable affirmative defense, no matter how remote the chance that it might

apply.” Id.

       III.    ARGUMENTS

       Defendant’s affirmative defenses lack merit and no question of fact or substantive law will

provide for their success. To the contrary, precedent from this and sister jurisdictions has

foreclosed many of these legal avenues. Increased time and expense of litigation may constitute

sufficient prejudice to strike an affirmative defense. Coach, Inc., 756 F.Supp.2d at 425; FDIC v.

Eckert Seamans Cherin & Mellott, 754 F.Supp. 22, 23 (E.D.N.Y.1990) (“Where the defense is

insufficient as a matter of law, the defense should be stricken to eliminate the delay and

unnecessary expense from litigating the invalid claim.”). For the following reasons, this Court

should strike Defendant’s affirmative defenses.



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        A. Defendant’s First Affirmative Defense (Statute of Limitations) Should be Stricken

        Defendant’s First Affirmative Defense states nothing more than “Plaintiff’s Complaint is

bared in whole or in part by the applicable statutes of limitations.” See Answer, p. 2 ¶ 15. This

defense lacks any merit and should be stricken to eliminate the delay and unnecessary expense of

litigating the invalid claim.

        Indeed, Plaintiff has been vigilant in pursuing its claims against Defendant within the

three-year window provided by the Copyright Act. See Petrella v. MGM, 572 U.S. 663, 667 134

S. Ct. 1962 (2014). “Civil actions for copyright infringement must be ‘commenced within three

years after the claim accrued.’” Psihoyos v. John Wiley & Sons, Inc., 748 F.3d 120, 124 (2d Cir.

2014) (quoting 17 U.S.C. § 507(b)) John Wiley & Sons, Inc. v. Book Dog Books, LLC, No.

13CIV816WHPGWG, 2016 WL 3176620, at *6 (S.D.N.Y. June 6, 2016), report and

recommendation adopted in part, rejected in part, No. 13CV816, 2016 WL 5092593 (S.D.N.Y.

Sept. 19, 2016). As shown in Exhibit A to Plaintiff’s Complaint [CM/ECF 1-1], this claim was

brought within the applicable statute of limitations. Therefore, Defendant’s Affirmative Defense

alleging that Plaintiff’s claims are barred by the applicable limitations period should be stricken.



        Plaintiff has adequately pled both elements. First, Plaintiff owns certificates of registration

from the Copyright Office in the copyrighted works at bar. The certificates “constitute prima facie

evidence of the validity of the copyright and of the facts stated in the certificate.” 17 U.S.C. §

410(c); see Malibu Media, LLC v. Knight, 2013 U.S. Dist. LEXIS 195893, *7 (M.D. Fla. May 9,

2013). Defendant’s Motion has not called into question the validity of these certificates.

        Second, Plaintiff sufficiently alleged copying of copyrightable elements. Plaintiff’s

Amended Complaint describes in detail Plaintiff’s methods for discovering BitTorrent infringers



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as well as how it detects and records Defendant’s infringement. (CM/ECF 14, at ¶¶ 11–26). The

Amended Complaint ultimately concludes, “Defendant downloaded, copied, and distributed a

complete copy of Plaintiff’s works without authorization as enumerated on Exhibits A and B.” Id.

at ¶ 24. This level of information far surpasses the low bar set by Iqbal and Twombly for Rule

12(b)(6). See e.g., Malibu Media, LLC v. Doe, 2013 U.S. Dist. LEXIS 99332, *9 (S.D.N.Y. July

16, 2013) (noting that Plaintiff’s adequately pled a claim for copyright infringement.)

       Further, Court’s addressing these issues find that Plaintiff’s complaints state a plausible

claim for relief. See e.g. In re Malibu Media Copyright Infringement Litig., No. C 15-04170 WHA,

2016 U.S. Dist. LEXIS 31908, at *11-12 (N.D. Cal. Mar. 10, 2016) (“Malibu Media has pled that

it received at least one piece of each allegedly infringed work from the defendants, and it has pled

that defendants' conduct occurred persistently, rather than in an isolated event. At the Rule 12

stage, the complaint has pled facts that plausibly demonstrate that the subscribers identified [12]

in the complaints committed the alleged infringement”); Media, LLC v. Bowser, No. 5:14CV2759,

2015 U.S. Dist. LEXIS 136957, at *8-9 (N.D. Ohio Oct. 7, 2015) (“The facts alleged by Malibu,

if accepted as true, sufficiently demonstrate that the user of IP address 98.27.177.139 copied its

copyrighted material and, therefore, states a claim for unlawful copying that is plausible on its

face.”); Malibu Media, LLC v. John Doe 1, 2013 WL 30648 at *4 (E.D. Pa. 2013) (“Accepting all

factual allegations in the Amended Complaints as true . . . the Court concludes Plaintiff has stated

a claim upon which relief can be granted under the Copyright Act.”); Malibu Media, LLC v.

Pelizzo, 2012 U.S. Dist. LEXIS 180980 at *1 (S.D. Fla. 2012) (“Having carefully reviewed the

allegations in the Complaint and the applicable authorities, the Court will deny the Motion because

the Complaint adequately states a claim for copyright infringement.”).

       Therefore, Defendant’s First Affirmative Defense should be stricken.



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       B. Defendant’s Second Affirmative Defense (Conditions Precedent) Should be
          Stricken

       Defendant’s Second Affirmative Defense simply states “ Plaintiff’s Complaint is barred in

whole or in part for failure to meet statutory conditions precedent to suit.”     See Answer, p. 3 ¶

16. Notably, Defendant fails to provide even bare bones details of what conditions precedent are

alleged to have not been met. To be sure, a certificate of copyright registration is the only

prerequisite to asserting a civil copyright infringement claim. 17 U.S.C. § 411(a). The Copyright

Act requires that an “application for copyright registration shall be made on a form prescribed by

the Register of Copyrights and shall include ... the name ... of the author or authors [of the

work].” Id. § 409(2); Sohm v. Scholastic Inc., 959 F.3d 39, 53 (2d Cir. 2020). The Copyright Act

does not include any other specific precondition that must be met prior to initiating suit for

infringement of copyright. Plaintiff has pled that it possesses valid certificates of registration for

each of the movies infringed by Plaintiff in the Complaint. Thus, Plaintiff has satisfied all

conditions precedent and, as such, Defendant’s baseless Affirmative Defense citing failure to meet

conditions precedent fails as a matter of law and should be stricken.


       C. Defendant’s Third Affirmative Defense (Copyright Misuse) Should be Stricken


       Defendant’s Third Affirmative Defense states that “Plaintiff’s claims are barred in whole

or in part on the grounds of misuse of copyright b (sic) the copyright owner.” See Answer, p. 3, ¶

17. The defense of copyright misuse prevents a copyright owner from recovering for infringement

where [it] has impermissibly extended the copyright monopoly in a manner which constitutes an

unreasonable restraint of trade.” Interscope Records v. Kimmel, No. 307-CV-0108, 2007 WL

1756383, at *5 (N.D.N.Y. June 18, 2007) (citing Coleman v. ESPN, Inc., 764 F.Supp. 290, 295

(S.D.N.Y.1991)).      Copyright misuse,      however,     “is    not    firmly     established”    as

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an affirmative defense in the Second Circuit, and it is unsettled whether the defense is applicable

absent a violation of the antitrust laws. Coach, Inc. v. Kmart Corps., 756 F. Supp. 2d 421, 428

(S.D.N.Y. 2010) (citing Shady Records, Inc. v. Source Enters., Inc., 2005 WL 14920, at *15

(S.D.N.Y. Jan. 3, 2005)) (citing Reliability Research Inc. v. Computer Assocs. Intn'l, Inc., 793

F.Supp. 68 (E.D.N.Y.1992)).

       The doctrine of copyright misuse is intended to prevent abuse of the Copyright Act’s public

policy of promoting the progress of science and arts. See Lasercomb Am., Inc. v. Reynolds, 911

F.2d 970, 973–75 (4th Cir. 1990). The defense applies when a copyright is used in a manner that

“unduly restrains competition” and generally can succeed only when the copyright owner has

“engaged in some form of anti-competitive behavior.” Thomas M. Gilvert Architects, P.C. v.

Accent Builders & Developers, LLC, 629 F. Supp. 2d 526, 536–37 (E.D. Va. 2008); see also Costar

Grp., Inc. v. Loopnet, Inc., 164 F. Supp. 2d 688, 708 (D. Md. 2001) (“Basically, this defense is an

assertion that the copyright holder is using his copyright ‘to secure an exclusive right or limited

monopoly not granted by the Copyright Office and which it is contrary to public policy to grant.’”

(citing Lasercomb, 911 F.2d at 977)). The defense is “rarely asserted” in response to a claim of

copyright infringement. Id.

       Here, Defendant claims that a copyright misuse affirmative defense is viable, yet

Defendant does not and cannot allege that Plaintiff engages in any anti-competitive behavior or

otherwise seeks to secure an exclusive right or limited monopoly not authorized by the Copyright

Office. Even if Defendant’s baseless assertion were correct—and it most definitely is not—

Defendant’s assertion do not support implication of a copyright misuse defense, as Plaintiff’s

lawsuit is authorized by the Copyright Act, and Defendant “has not alleged that Plaintiff engaged

in any anti-competitive behavior or otherwise tried to secure exclusive rights not authorized by the



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copyright office.” Alfred Popp, No. 1:14-cv-00700-GBL-JFA, CM/ECF 20 (E.D. Va. April 13,

2015). To be sure, it is for this reason that Courts regularly strike this identical affirmative defense

in identical contexts. See, e.g., Id. (striking copyright misuse defense in identical context

explaining “[t]he Court holds that the copyright misuse affirmative defense is insufficient as a

matter of law because Defendant fails to allege that Plaintiff engaged in any action to secure

exclusive right to discourage competition.”). Therefore, Defendant’s Third Affirmative Defense

should be stricken.

         D. Defendant’s Fourth Affirmative Defense (Innocent Infringement/Lack of
            Knowledge) Should be Stricken
         For his Fourth Affirmative Defense, Defendant claims that “Defendant had no reason to

believe that any of the alleged work or works were copyrighted.” See Answer p. 3 ¶ 18.             The

burden     for   this   affirmative    defense    is   on    the    defendant     to   establish    that

any infringement was innocent. Although “it is not sufficient for a defendant merely to claim

such innocence, and then rely upon the plaintiff's failure to disprove the claim,” 3 M. Nimmer &

D. Nimmer, Nimmer on Copyright § 14.04[B][2][a], at 14–40 (1989). It is important to note that

“innocent infringement does not absolve the defendant of liability under the Copyright Act.”

Fitzgerald Publishing Co. v. Baylor Publishing Co., 807 F.2d 1110, 1117 (2d Cir.1986). While

Defendant’s defense is bare bones and contains no facts to allow Plaintiff to understand the nature

of the defense, to the extent that such a defense is relied upon due to the alleged absence of a

copyright notice, “[t]he mere absence of a copyright mark is not sufficient to establish innocent

infringement. D.C. Comics Inc. v. Mini Gift Shop, 912 F.2d 29, 35 (2d Cir. 1990). In fact, “there

is no basis to believe that the mere availability of Malibu’s content on BitTorrent would have given

Doe the impression that the content was unprotected by copyright law or that its downloading and




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redistribution was legal.” Malibu Media, LLC v. Doe, 2014 U.S. Dist. LEXIS 77929, *9 (N.D. Ill.

June 9, 2014).

       Since Defendant’s Affirmative Defense provides no direct or inferential allegations as to

any elements the defense asserts, Defendant’s Fourth Affirmative Defense should be stricken.

       E. Defendant’s Fifth Affirmative Defense (Fair Use) Should be Stricken
       For his Fifth Affirmative Defense, Defendant claims that “Plaintiff’s Complaint is barred

in whole or in part under the fair use doctrine.” See Answer, p. 3 ¶ 20. The “ultimate test” of fair

use is whether the progress of human thought “would be better served by allowing the use than by

preventing it.” Brammer v. Violent Hues Prods., LLC, 922 F.3d 255, 262 (4th Cir. 2019) citing

Cariou v. Prince, 714 F.3d 694, 705 (2d Cir. 2013) (internal quotation marks omitted). Section

107 of the Copyright Act sets forth specific instances of use of a copyrighted work that,

notwithstanding the provisions of sections 106 and 106A, is not an infringement of copyright. 17

U.S.C.A. § 107. Specifically, section 107 lists purposes “such as criticism, comment, news

reporting, teaching, scholarship, or research” as fair uses not constituting copyright infringement.

Id. Yet, Defendant does not and cannot point to any such purpose here. Indeed, Defendant’s sole

purpose for infringing Plaintiff’s copyright was to obtain Plaintiff’s film without paying for it.

       Further, to negate fair use one need only show that if the challenged use “should become

widespread, it would adversely affect the potential market for the copyrighted work.” Sony Corp.

of America v. Universal City Studios, Inc., 464 U.S., at 451, 104 S.Ct., at 793 (emphasis

added); id., at 484, and n. 36, 104 S.Ct., at 810, and n. 36 (collecting cases) (dissenting opinion).

This inquiry must take account not only of harm to the original but also of harm to the market for

derivative works. See Iowa State University Research Foundation, Inc. v. American Broadcasting

Cos., 621 F.2d 57 (CA2 1980). “If the defendant's work adversely affects the value of any of the

rights in the copyrighted work (in this case the adaptation [and serialization] right) the use is not

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fair.” 3 Nimmer § 13.05[B], at 13–77—13–78 (footnote omitted).Harper & Row Publishers, Inc.

v. Nation Enterprises, 471 U.S. 539, 568, 105 S. Ct. 2218, 2234, 85 L. Ed. 2d 588 (1985). Here,

Defendant’s use is to deprive Plaintiff’s ability to use its copyrights for commercial gain. Indeed,

if third parties were permitted to download Plaintiff’s movies for free and such practice became

widespread, there is no doubt such use would affect the potential market for the copyrighted work.

As such, Defendant’s affirmative defense of fair use fails and should be stricken.



       IV.     CONCLUSION

       For each of the foregoing reasons, Plaintiff respectfully requests this Court grant Plaintiff’s

Motion to Strike Defendant’s Affirmative Defenses.



       Dated: June 22, 2020                   Respectfully submitted,


                                              By:     /s/ Kevin T. Conway
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 24, 2020, I electronically filed the foregoing document with

the Clerk of the Court and all parties using the CM/ECF system. Participants in the case who are

registered CM/ECF users will be served by the CM/ECF system.


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                                     By:   /s/ Kevin T. Conway
                                           Kevin T. Conway, Esq. (KC-3347)




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